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So Ordered.

s/ Christopher A. Boyko           UNITED STATES DISTRICT COURT
Senior United States District Judge NORTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION

  JOHN R. HARRISON, Administrator of the          ) CASE NO.: 1:19-CV-02328
  Estate of Jesus Malave Morales,                 )
                                                  ) JUDGE CHRISTOPHER A. BOYKO
          Plaintiff,                              )
                                                  )
  vs.                                             )
                                                  )
  CITY OF CLEVELAND, et al.,                      )
                                                  ) STIPULATION OF DISMISSAL
          Defendant                               )


          Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff hereby dismisses the captioned action

  with prejudice, each party to bear its own costs.

  SO STIPULATED:

  FRIEDMAN, GILBERT & GERHARDSTEIN                    MAZANEC, RASKIN & RYDER CO., L.P.A.

  /s Terry Gilbert                                    s/Cara M. Wright per auth
  TERRY GILBERT (0021948)                             PATRICIA C. AMBROSE RUBRIGHT
  SARAH GELSOMINO (0084340)                           (0009435)
  JACQUELINE GREENE (092733)                          CARA M. WRIGHT (0084583)
  50 Public Square, Suite 1900                        100 Franklin’s Row, 34305 Solon Road
  Cleveland, OH 44113                                 Cleveland, OH 44139
  (216) 241-1430 / (216)621-0427                      (440) 248-7906 / (440) 248-8861 – Fax
  jgreene@fggfirm.com                                 traskin@mrrlaw.com
  sgelsomino@fggfirm.com                              prubright@mrrlaw.com
  jgreene@fggfirm.com                                 cwright@mrrlaw.com

  Counsel for Plaintiff                               Counsel for Defendants

                                                      and

                                                      BARBARA A. LANGHENRY (0038838)
                                                      Director of Law
                                                      By: s/ Timothy J. Puin per auth
                                                      William M. Menzalora (0061136)
                                                      Chief Assistant Director of Law
                                                      Timothy J. Puin (0065120)
